
Per Curiam.
The dismissal of the complaint was ordered at trial term, the plaintiff not appearing. The court below used a judicial discretion in setting aside the default which cannot be reviewed.
The learned counsel for appellant argues that the record showed that the plaintiff had no right of recovery.
The action was for damages from defendant’s alleged negligence. The answer contained a general denial of the averments of the complaint. It then made a counter-claim for damages from plaintiff’s alleged negligence in a transaction which it will be assumed appears by the pleadings to be the same transaction that the complaint referred to. The counter-claim averred that the plaintiff was negligent. To this counter-claim there was no reply. And the position for defendant is that, by section 522, Code Civil Procedure, for the purposes of the action, the allegations of the answer must be taken as true.
It was within the discretion of the judge to refuse to decide this matter upon motion and to refer it for determination to the ordinary proceedings in an action, and especially in view of the possibility that the plaintiff would procure, if it were proper, relief against the consequences of a want of a reply.
The terms upon which the default was opened, were complained of. It appears by the affidavits that the plaintiff’s attorney, in not appearing, acted upon what he supposed was an arrangement with the other side. The arrangement was denied, but the plaintiff may have *142believed it was made. As to its existence the preponderance of proof was with the plaintiff. The court had .a right to consider this in settling terms.
Order affirmed, without costs.
